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                                 ATTACHMENT A

                               Property to Be Searched

       This warrant applies to information between May 1, 2020 and August 24, 2020

associated with the following Facebook page(s):

   x   “Gerald”, URL: https://www.facebook.com/geraldgboogyboyd,


That are stored at premises owned, maintained, controlled, or operated by Facebook, a

social networking company headquartered in Menlo Park, California.




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                                   ATTACHMENT B

                             Particular Things to be Seized

Information to be disclosed by Facebook

      1.      To the extent that the information described in Attachment A is within the

possession, custody, or control of Facebook, including any messages, records, files, logs,

or information that have been deleted but are still available to Facebook, or have been

preserved pursuant to a request made under 18 U.S.C. § 2703(f), Facebook is required to

disclose the following information to the government for each user ID listed in

Attachment A:

           a. All contact and personal identifying information, including: full name,

              user identification number, birth date, gender, contact e-mail addresses,

              Facebook passwords, Facebook security questions and answers, physical

              address (including city, state, and zip code), telephone numbers, screen

              names, websites, and other personal identifiers.

           b. All activity logs for the account and all other documents showing the

              user’s posts and other Facebook activities;

           c. All photos uploaded by that user ID and all photos uploaded by any user

              that have that user tagged in them;

           d. All profile information; News Feed information; status updates; links to

              videos, photographs, articles, and other items; Notes; Wall postings;

              friend lists, including the friends’ Facebook user identification numbers;

              groups and networks of which the user is a member, including the




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     groups’ Facebook group identification numbers; future and past event

     postings; rejected “Friend” requests; comments; gifts; pokes; tags; and

     information about the user’s access and use of Facebook applications;

e. All records or other information regarding the devices and internet

     browsers associated with, or used in connection with, that user ID,

     including the hardware model, operating system version, unique device

     identifiers, mobile network information, and user agent string;

f. All other records of communications and messages made or received by

     the user, including all private messages, chat history, video calling history,

     and pending “Friend” requests;

g. All “check ins” and other location information;

h. All IP logs, including all records of the IP addresses that logged into the

     account;

i. All records of the account’s usage of the “Like” feature, including all

     Facebook posts and all non-Facebook webpages and content that the user

     has “liked”;

j.   All information about the Facebook pages that the account is or was a

     “fan” of;

k. All past and present lists of friends created by the account;

l. All records of Facebook searches performed by the account;

m. All audio messages sent by the account and messages received by the

     account;

n. All video messages sent by the account and to the account;




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            o. Any and all location data that is recorded by Facebook related to the

               account

            p. All information about the user’s access and use of Facebook Marketplace;

            q. The types of service utilized by the user;

            r. The length of service (including start date) and the means and source of

               any payments associated with the service (including any credit card or

               bank account number);

            s. All privacy settings and other account settings, including privacy settings

               for individual Facebook posts and activities, and all records showing

               which Facebook users have been blocked by the account;

            t. All records pertaining to communications between Facebook and any

               person regarding the user or the user’s Facebook account, including

               contacts with support services and records of actions taken.

Information to be seized by the government

      48.      All information described above that constitutes fruits, evidence and

instrumentalities of violations of 18 U.S.C. 18 U.S.C. § 924(c) (Use of a firearm during

the commission of a crime of violence) 18 U.S.C 922 (g)(1) (felon in possession of a

firearm), 18 U.S.C. § 371 (conspiracy) since May 1, 2020 to August 24, 2020, for each user

ID identified on Attachment A, information pertaining to the following matters:

            a. The relevant offense conduct, any preparatory steps taken in furtherance

               of the scheme, communications between the suspect and others related to

               the relevant offense conduct in the above-listed crimes;




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b. Evidence indicating how and when the Facebook account was accessed or

   used, to determine the chronological and geographic context of account

   access, use, and events relating to the crime under investigation and to the

   Facebook account owner;

c. Evidence indicating the Facebook account owner’s state of mind as it

   relates to the crime under investigation;

d. The identity of the person(s) who created or used the user ID, including

   records that help reveal the whereabouts of such person(s).

e. The identity of the person(s) who communicated with the user ID about

   matters relating to relevant offense conduct of the above-listed crimes,

   including records that help reveal their whereabouts.




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                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, PAUL KOZELEK, being first duly sworn, hereby depose and state as follows:

                I.     INTRODUCTION AND AGENT BACKGROUND

       1.     I make this affidavit in support of an application for a search warrant for

information associated with a certain Facebook user ID that is stored at premises

owned, maintained, controlled, or operated by Facebook Inc. (“Facebook”), a social

networking company headquartered in Menlo Park, California. The information to be

searched is described in the following paragraphs and in Attachment A. This affidavit

is made in support of an application for a search warrant under 18 U.S.C. §§ 2703(a),

2703(b)(1)(A) and 2703(c)(1)(A) to require Facebook to disclose to the government

records and other information in its possession, pertaining to the subscriber or customer

associated with the user ID.

       2.     I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and

Explosives (ATF) and have been employed in such capacity since January of 2020. As

an ATF Special Agent, I have completed training in cases related to the unlawful use of

firearms, firearms trafficking, drug trafficking, arson, and explosives.

       3.     Prior to my employment with ATF, I was a Sheriff’s Deputy with the

Jackson County Sheriff’s Office in Black River Falls, WI. My duties included patrol,

drafting and executing search warrants, and investigations related to state and county

criminal violations.

       4.      Previous to my tenure with the Jackson County Sheriff’s Office, I served

with the United State Marine Corps from 2004 until 2008, and United States Marine




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Corps Reserve from 2011 until 2014. I left the Marine Corps as an E6/Staff Sergeant

holding the billet of Platoon Commander.

      5.      I received my bachelor’s degree in Criminal Justice Administration from

Viterbo University. La Crosse, WI in 2016.

      6.      I have received training in the investigation of firearm and drug

trafficking. Based on my training, experience, and participation in firearm trafficking

investigations, I know and/or have observed the following:

                 a. I am trained to utilize informants to investigate firearm and drug

                    trafficking.   Through informant interviews and debriefings of

                    individuals involved in those offenses, I have learned about the

                    manner in which individuals and organizations distribute these

                    items in Wisconsin and elsewhere;

                 b. I have also relied on informants to obtain firearms (as opposed to

                    licensed gun dealers) and controlled substances from individuals

                    on the streets, known as a controlled purchase;

                 c. I have experience conducting street surveillance of individuals

                    engaged in firearm and drug trafficking. I have participated in the

                    execution of numerous search warrants where drugs, firearms,

                    ammunition, and magazines have been seized;

                 d. I am familiar with the language utilized over the telephone to

                    discuss firearm and drug trafficking, and know that the language is

                    often limited, guarded, and coded;




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                 e. I know that firearm and drug traffickers often use electronic

                    equipment to conduct these operations;

                 f. I know that drug traffickers commonly have in their possession,

                    and at their residences and other locations where they exercise

                    dominion and control, firearms, ammunition, and          records   or

                    receipts pertaining to such;

                 g. I know that firearm and drug traffickers often put their telephones

                    in nominee names to distance themselves from telephones that are

                    utilized to facilitate these and related offenses; and

                 h. I know that firearm and drug traffickers often use proceeds to

                    purchase assets such as vehicles, property, jewelry, and narcotics. I

                    also know that firearm and drug traffickers often use nominees to

                    purchase and/or title these assets to avoid scrutiny from law

                    enforcement officials. I also know that firearm and drug traffickers

                    may keep photographs of these items on electronic devices.

                 i. I know that firearm and drug traffickers often use their electronic

                    devices to connect to the internet and social media platforms such

                    as Facebook to conceal and further illegal activities.

      7.      I have been trained in firearm and drug trafficking investigations that

involve the seizure of computers, cellular phones, cameras, and other digital storage

devices, and the subsequent analysis of electronic data stored within these computers,

cellular phones, cameras, and other digital storage devices. In many occasions, this

electronic data has provided evidence of the crimes being investigated and




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corroborated information already known or suspected by law enforcement.

       8.      The facts in this affidavit come from my personal observations, review of

relevant police reports, my training and experience, and information obtained from

other investigators and witnesses. This affidavit is intended to show merely that there is

sufficient probable cause for the requested warrant and does not set forth all of my

knowledge about this matter.

       9.      Based on my training and experience and the facts as set forth in this

affidavit, there is probable cause to believe that with Suspect 1’s Facebook account,

https://www.facebook.com/geraldgboogyboyd, agents will contain evidence relevant

to violations of 18 U.S.C. § 924(c) (Use of a firearm during the commission of a crime of

violence) 18 U.S.C 922 (g)(1) (felon in possession of a firearm), 18 U.S.C. § 371

(conspiracy), 18 U.S.C 2119 (2) (carjacking).

                                   II.   JURISDICTION

       10.     This Court has jurisdiction to issue the requested warrant because it is “a

court of competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a),

(b)(1)(A), & (c)(1)(A). Specifically, the Court is “a district court of the United States . . .

that has jurisdiction over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i).

       11.     Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer

is not required for the service or execution of this warrant. The government will execute

this warrant by serving it on Facebook. Because the warrant will be served on Facebook,

who will then compile the requested records at a time convenient to it, reasonable cause

exists to permit the execution of the requested warrant at any time in the day or night.




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                         III. LOCATIONS TO BE SEARCHED

       12.      Facebook Account: https://www.facebook.com/geraldgboogyboyd

                (“Gerald”)

                         IV. PROBABLE CAUSE

       13.     On May 11, 2020, Suspect 1 (later identified as Legerald Boyd) purchased

a silver over black Taurus model G2C P111 9mm handgun with serial number

ABC367236 from Dunham’s Sports located at 2550 S. 108th St in the city of West Allis, in

the Eastern District of Wisconsin.

       14.     On May 12, 2020 a Milwaukee Police Department ShotSpotter report

showed a shooting incident at 1152 E. Walworth St. in the City of Milwaukee. A 9mm

casing was recovered from that scene, however there were no witnesses, victims or

suspects identified. The casing was entered into the National Integrated Ballistic

Information Network (NIBIN), which also contains the Integrated Ballistic Identification

System (IBIS). NIBIN and IBIS are an integrated system which examines expended

ammunition casings for marks made from cycling through the action of a firearm. These

marks are unique to each firearm and examiners are able to match casings from

different crime scenes, and also to recovered firearms.

      15.      On May 14, 2020, Legerald Boyd purchased an all black Taurus model

G2C serial number ABC439460 9mm handgun from Dunham’s Sports located at 2550 S.

108th St in the city of West Allis, Wisconsin.

      16.      On July 10, 2020 the victim, Ali Sabri (M/W DOB 07/09/2000), was

contacted on Facebook Messenger by a Facebook account named “Gerald.” “Gerald”

inquired about a vehicle that Mr. Sabri listed for sale on Facebook Marketplace under the




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username “Ali Dulami.” “Gerald” and Mr. Sabri discussed the sale of the vehicle and

ended the conversation without agreeing on a price.

       17.     The following day, on July 11, 2020, Mr. Sabri was contacted again by

Facebook account “Gerald” about the same vehicle. Another discussion commenced

and they agreed upon a purchase price for the vehicle. They agreed to meet later that

same day at the Avenue Wine and Liquor store located at 4075 S. Howell Ave in the

City of Milwaukee, WI in the Eastern District of WI.

        18.    Later that day, Mr. Sabri met with two black males, later identified as

Legerald Boyd (Suspect 1) (M/B DOB 03/09/1998) and Rashawn D. Boyd (Suspect 2)

(M/B DOB 10/11/1995). Mr. Sabri stated that Suspect 1 and Suspect 2 were dropped off

at Avenue Wine and Liquor by an unidentified third male driving a red or maroon

minivan.

      19.      The suspects wished to test drive the vehicle Mr. Sabri had for sale, and

Mr. Sabri permitted this. Mr. Sabri stated that during the test drive of the vehicle,

Suspect 1 drove the vehicle, Suspect 2 was rear passenger side seat, and he (Sabri) was

in the rear driver side seat. Mr. Sabri stated during the test drive, Suspect 2 presented a

silver over black colored handgun and demanded Mr. Sabri’s cell phone. Mr. Sabri fled

the vehicle and was shot in the left hip. Suspects 1 and 2 then fled in Mr. Sabri’s vehicle,

which was later reported as stolen by Mr. Sabri.

      20.      A fired ammunition casing was recovered from the scene. This was

entered into NIBIN. At that time there were no correlations to other recovered

ammunition casings.




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      21.      After the robbery, Mr. Sabri was interviewed and presented two photo

arrays by Milwaukee Police Department Detectives. The first array contained a

photograph of Suspect 1, and the second contained a photograph of Suspect 2. When

shown the first photo array, Mr. Sabri identified Suspect 1 as the person who had shot

him. When shown the second photo array Mr. Sabri identified Suspect 2 as being the

one who shot him stating “I think this is him, but the hair is different.” Mr. Sabri then

corrected his statement about Suspect 1, stating Suspect 1 was the one driving the

vehicle. Mr. Sabri was clear that the two suspects who robbed him looked very similar,

and he believed they could have been brothers. After reviewing both of the photo

arrays, Mr. Sabri stated that Suspect 2 had been the one who had shot him, while

Suspect 1 had been the one driving the vehicle.       It was later determined that the

individuals identified by Mr. Sabri were in fact brothers. Suspect 1 was identified as

Legerald Boyd and Suspect 2 as Rashawn Boyd.

      22.      On August 5, 2020 Milwaukee Police Department Detectives went to the

residence of Carmelita Wesley, the mother of Legerald and Rashawn Boyd, at 2772 N.

15th St. in the City of Milwaukee. The purpose was to locate Legerald Boyd and place

him under arrest for his part in the robbery of Mr. Sabri. Carmelita Wesley consented to

detectives entering the residence and Legerald Boyd was located and placed under

arrest. While in the house, detectives observed a handgun which was described as an all

black Taurus model G2C P111 9mm handgun with serial number ABC439460 in plain

view, located in Legerald Boyd’s bedroom on a nightstand. This is the same handgun

which Legerald Boyd purchased from Dunham’s Sports on May 14, 2020. This was




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collected and later test fired. The ammunition casings were entered into NIBIN. No

correlations were found at that time.

      23.      On August 24, 2020 Milwaukee Police officers observed Mr. Sabri’s stolen

vehicle being driven on N 20th St near W Clark St in the City of Milwaukee, in the

Eastern District of WI. Officers attempted a traffic stop but the driver of the vehicle fled.

After a pursuit of approximately 2.1 miles, officers were able to stop the stolen vehicle

at 3265 N 30th St. in the City of Milwaukee, in the Eastern District of Wisconsin. Rashawn

Boyd was found to be the driver and the front passenger was identified as Harvey Agee

(M/B DOB 08/04/1999). Inside the vehicle in the front passenger side door map pocket

was a silver over black Taurus G2C 9mm handgun with serial number ABC367236. This

is the firearm purchased from Dunham’s Sports by Legerald Boyd on May 11, 2020.

      24.      Also found in the vehicle was a bottle of 25 Oxycodone tablets, a second

bottle containing two Oxycodone tablets, a clear plastic bag containing suspected

marijuana, and a second plastic bag containing suspected marijuana. A field test later

confirmed the suspected marijuana contained THC. A total of 27 tablets and 3.35g of

marijuana was recovered.

      25.      The Taurus 9mm handgun with serial number ABC367236 was test fired

and the ammunition casings were entered into NIBIN. The test fired casings matched

the recovered casing from the May 12, 2020 shooting incident. This is a one day period

of time from purchase to crime, and a 106 day period to recovery of the firearm.

      26.      A review of Rashawn Boyd’s criminal history shows that he is a convicted

felon. On June 21, 2018 he was convicted of felony hit and run causing great bodily

harm (Milwaukee County Case 2017CF0044441), and felony hit and run causing injury




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(Milwaukee County Case 2018CF000662). Based on his status as a convicted felon, he is

prohibited by law from possessing a firearm under 18 U.S.C. 922(g)(1).

      27.      Based on my training and experience, it is common for criminals to

discuss their plans prior to the execution of a crime. Due to the one day period of time

from purchase of the Taurus handgun by Legerald Boyd with serial number ABC367236

to the shooting on May 12, 2020, it is reasonable to believe there is incriminating

communication contained within the suspect’s Facebook account for a period of time

prior to the commission of the crime.

       28.     I believe that Legerald Boyd uses his Facebook account to facilitate violent

crimes. Legerald Boyd later told Milwaukee Police Department investigators his

Facebook account has a picture of a small child and a “Black Live Matter” banner

surrounding       US     currency.      Affiant     verified    the      Facebook      account

https://www.facebook.com/geraldgboogyboyd is the same account Legerald Boyd

described.      ATF    agents    preserved        Facebook     account     “Gerald”,     URL:

https://www.facebook.com/geraldgboogyboyd, Facebook. Affiant believes that this

Facebook account will have stored evidence of violations of § 18 U.S.C. § 924(c) (Use of

a firearm during the commission of a crime of violence), 18 U.S.C 922 (g)(1) (felon in

possession of a firearm), 18 U.S.C. § 371 (conspiracy). 18 U.S.C. 2119 (2) (carjacking).


                                           Facebook Generally

       29.             Facebook owns and operates a free-access social networking

website of the same name that can be accessed at http://www.facebook.com. Facebook

allows its users to establish accounts with Facebook, and users can then use their




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accounts to share written news, photographs, videos, and other information with other

Facebook users, and sometimes with the general public.

      30.             Facebook asks users to provide basic contact and personal

identifying information to Facebook, either during the registration process or thereafter.

This information may include the user’s full name, birth date, gender, contact e-mail

addresses, Facebook passwords, physical address (including city, state, and zip code),

telephone numbers, screen names, websites, and other personal identifiers. Facebook

also assigns a user identification number to each account.

      31.             Facebook users may join one or more groups or networks to

connect and interact with other users who are members of the same group or network.

Facebook assigns a group identification number to each group. A Facebook user can

also connect directly with individual Facebook users by sending each user a “Friend

Request.” If the recipient of a “Friend Request” accepts the request, then the two users

will become “Friends” for purposes of Facebook and can exchange communications or

view information about each other. Each Facebook user’s account includes a list of that

user’s “Friends” and a “News Feed,” which highlights information about the user’s

“Friends,” such as profile changes, upcoming events, and birthdays.

      32.             Facebook users can select different levels of privacy for the

communications and information associated with their Facebook accounts.                By

adjusting these privacy settings, a Facebook user can make information available only

to himself or herself, to particular Facebook users, or to anyone with access to the

Internet, including people who are not Facebook users. A Facebook user can also create

“lists” of Facebook friends to facilitate the application of these privacy settings.




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Facebook accounts also include other account settings that users can adjust to control,

for example, the types of notifications they receive from Facebook.

       33.             Facebook users can create profiles that include photographs, lists

of personal interests, and other information. Facebook users can also post “status”

updates about their whereabouts and actions, as well as links to videos, photographs,

articles, and other items available elsewhere on the Internet. Facebook users can also

post information about upcoming “events,” such as social occasions, by listing the

event’s time, location, host, and guest list. In addition, Facebook users can “check in” to

particular locations or add their geographic locations to their Facebook posts, thereby

revealing their geographic locations at particular dates and times. A particular user’s

profile page also includes a “Wall,” which is a space where the user and his or her

“Friends” can post messages, attachments, and links that will typically be visible to

anyone who can view the user’s profile.

       34.             Facebook allows users to upload photos and videos, which may

include any metadata such as location that the user transmitted when s/he uploaded

the photo or video. It also provides users the ability to “tag” (i.e., label) other Facebook

users in a photo or video. When a user is tagged in a photo or video, he or she receives

a notification of the tag and a link to see the photo or video. For Facebook’s purposes,

the photos and videos associated with a user’s account will include all photos and

videos uploaded by that user that have not been deleted, as well as all photos and

videos uploaded by any user that have that user tagged in them.

       35.           Facebook users can exchange private messages on Facebook with

other users.   Those messages are stored by Facebook unless deleted by the user.




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Facebook users can also post comments on the Facebook profiles of other users or on

their own profiles; such comments are typically associated with a specific posting or

item on the profile. In addition, Facebook has a chat feature that allows users to send

and   receive   instant   messages     through   Facebook   Messenger.       These     chat

communications are stored in the chat history for the account. Facebook also has Video

and Voice Calling features, and although Facebook does not record the calls themselves,

it does keep records of the date of each call.

       36.             If a Facebook user does not want to interact with another user on

Facebook, the first user can “block” the second user from seeing his or her account.

       37.             Facebook has a “like” feature that allows users to give positive

feedback or connect to particular pages. Facebook users can “like” Facebook posts or

updates, as well as webpages or content on third-party (i.e., non-Facebook) websites.

Facebook users can also become “fans” of particular Facebook pages.

       38.             Facebook has a search function that enables its users to search

Facebook for keywords, usernames, or pages, among other things.

       39.             Each Facebook account has an activity log, which is a list of the

user’s posts and other Facebook activities from the inception of the account to the

present. The activity log includes stories and photos that the user has been tagged in, as

well as connections made through the account, such as “liking” a Facebook page or

adding someone as a friend. The activity log is visible to the user but cannot be viewed

by people who visit the user’s Facebook page.




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       40.   Facebook also has a Marketplace feature, which allows users to post free

classified ads. Users can post items for sale, housing, jobs, and other items on the

Marketplace.

       41.             In addition to the applications described above, Facebook also

provides its users with access to thousands of other applications (“apps”) on the

Facebook platform. When a Facebook user accesses or uses one of these applications,

an update about that the user’s access or use of that application may appear on the

user’s profile page.

       42.             Facebook also retains Internet Protocol (“IP”) logs for a given

user ID or IP address. These logs may contain information about the actions taken by

the user ID or IP address on Facebook, including information about the type of action,

the date and time of the action, and the user ID and IP address associated with the

action. For example, if a user views a Facebook profile, that user’s IP log would reflect

the fact that the user viewed the profile, and would show when and from what IP

address the user did so.

       43.             Social networking providers like Facebook typically retain

additional information about their users’ accounts, such as information about the length

of service (including start date), the types of service utilized, and the means and source

of any payments associated with the service (including any credit card or bank account

number). In some cases, Facebook users may communicate directly with Facebook

about issues relating to their accounts, such as technical problems, billing inquiries, or

complaints from other users.     Social networking providers like Facebook typically

retain records about such communications, including records of contacts between the




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user and the provider’s support services, as well as records of any actions taken by the

provider or user as a result of the communications.

      44.      As explained herein, information stored in connection with a Facebook

account may provide crucial evidence of the “who, what, why, when, where, and how”

of the criminal conduct under investigation, thus enabling the United States to establish

and prove each element or alternatively, to exclude the innocent from further suspicion.

In my training and experience, a Facebook user’s IP log, stored electronic

communications, and other data retained by Facebook, can indicate who has used or

controlled the Facebook account. This “user attribution” evidence is analogous to the

search for “indicia of occupancy” while executing a search warrant at a residence. For

example, profile contact information, private messaging logs, status updates, and

tagged photos (and the data associated with the foregoing, such as date and time) may

be evidence of who used or controlled the Facebook account at a relevant time. Further,

Facebook account activity can show how and when the account was accessed or used.

For example, as described herein, Facebook logs the Internet Protocol (IP) addresses

from which users access their accounts along with the time and date. By determining

the physical location associated with the logged IP addresses, investigators can

understand the chronological and geographic context of the account access and use

relating to the crime under investigation. Such information allows investigators to

understand the geographic and chronological context of Facebook access, use, and

events relating to the crime under investigation. Additionally, Facebook builds geo-

location into some of its services. Geo-location allows, for example, users to “tag” their

location in posts and Facebook “friends” to locate each other. This geographic and




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timeline information may tend to either inculpate or exculpate the Facebook account

owner. Last, Facebook account activity may provide relevant insight into the Facebook

account owner’s state of mind as it relates to the offense under investigation. For

example, information on the Facebook account may indicate the owner’s motive and

intent to commit a crime (e.g., information indicating a plan to commit a crime), or

consciousness of guilt (e.g., deleting account information in an effort to conceal

evidence from law enforcement).

      45.             Therefore, the computers of Facebook are likely to contain all the

material described above, including stored electronic communications and information

concerning subscribers and their use of Facebook, such as account access information,

transaction information, and other account information.

       46.            I anticipate executing this warrant under the Electronic

Communications Privacy Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and

2703(c)(1)(A), by using the warrant to require Facebook to disclose to the government

copies of the records and other information (including the content of communications)

particularly described in Section I of Attachment B. Upon receipt of the information

described in Section I of Attachment B, government-authorized persons will review that

information to locate the items described in Section II of Attachment B.

                                     REQUEST FOR SEALING

      47.             I further request that the Court order that all papers in support of

this application, including the affidavit and search warrant, be sealed for a period of

one year. These documents discuss an ongoing criminal investigation that is neither

public nor known to all of the targets of the investigation. Accordingly, there is good




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cause to seal these documents because their premature disclosure may give targets an

opportunity to flee/continue flight from prosecution, destroy or tamper with evidence,

change patterns of behavior, notify confederates, or otherwise seriously jeopardize the

investigation.




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                                 ATTACHMENT A

                               Property to Be Searched

       This warrant applies to information between May 1, 2020 and August 24, 2020

associated with the following Facebook page(s):

   x   “Gerald”, URL: https://www.facebook.com/geraldgboogyboyd,


That are stored at premises owned, maintained, controlled, or operated by Facebook, a

social networking company headquartered in Menlo Park, California.




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                                    ATTACHMENT B

                              Particular Things to be Seized

Information to be disclosed by Facebook

      1.       To the extent that the information described in Attachment A is within the

possession, custody, or control of Facebook, including any messages, records, files, logs,

or information that have been deleted but are still available to Facebook, or have been

preserved pursuant to a request made under 18 U.S.C. § 2703(f), Facebook is required to

disclose the following information to the government for each user ID listed in

Attachment A:

            a. All contact and personal identifying information, including: full name,

               user identification number, birth date, gender, contact e-mail addresses,

               Facebook passwords, Facebook security questions and answers, physical

               address (including city, state, and zip code), telephone numbers, screen

               names, websites, and other personal identifiers.

            b. All activity logs for the account and all other documents showing the

               user’s posts and other Facebook activities;

            c. All photos uploaded by that user ID and all photos uploaded by any user

               that have that user tagged in them;

            d. All profile information; News Feed information; status updates; links to

               videos, photographs, articles, and other items; Notes; Wall postings;

               friend lists, including the friends’ Facebook user identification numbers;

               groups and networks of which the user is a member, including the




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      groups’ Facebook group identification numbers; future and past event

      postings; rejected “Friend” requests; comments; gifts; pokes; tags; and

      information about the user’s access and use of Facebook applications;

 e. All records or other information regarding the devices and internet

      browsers associated with, or used in connection with, that user ID,

      including the hardware model, operating system version, unique device

      identifiers, mobile network information, and user agent string;

 f. All other records of communications and messages made or received by

      the user, including all private messages, chat history, video calling history,

      and pending “Friend” requests;

 g. All “check ins” and other location information;

 h. All IP logs, including all records of the IP addresses that logged into the

      account;

 i. All records of the account’s usage of the “Like” feature, including all

      Facebook posts and all non-Facebook webpages and content that the user

      has “liked”;

 j.   All information about the Facebook pages that the account is or was a

      “fan” of;

 k. All past and present lists of friends created by the account;

 l. All records of Facebook searches performed by the account;

 m. All audio messages sent by the account and messages received by the

      account;

 n. All video messages sent by the account and to the account;




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            o. Any and all location data that is recorded by Facebook related to the

               account

            p. All information about the user’s access and use of Facebook Marketplace;

            q. The types of service utilized by the user;

            r. The length of service (including start date) and the means and source of

               any payments associated with the service (including any credit card or

               bank account number);

            s. All privacy settings and other account settings, including privacy settings

               for individual Facebook posts and activities, and all records showing

               which Facebook users have been blocked by the account;

            t. All records pertaining to communications between Facebook and any

               person regarding the user or the user’s Facebook account, including

               contacts with support services and records of actions taken.

Information to be seized by the government

      48.      All information described above that constitutes fruits, evidence and

instrumentalities of violations of 18 U.S.C. 18 U.S.C. § 924(c) (Use of a firearm during

the commission of a crime of violence) 18 U.S.C 922 (g)(1) (felon in possession of a

firearm), 18 U.S.C. § 371 (conspiracy) since May 1, 2020 to August 24, 2020, for each user

ID identified on Attachment A, information pertaining to the following matters:

            a. The relevant offense conduct, any preparatory steps taken in furtherance

               of the scheme, communications between the suspect and others related to

               the relevant offense conduct in the above-listed crimes;




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 b. Evidence indicating how and when the Facebook account was accessed or

    used, to determine the chronological and geographic context of account

    access, use, and events relating to the crime under investigation and to the

    Facebook account owner;

 c. Evidence indicating the Facebook account owner’s state of mind as it

    relates to the crime under investigation;

 d. The identity of the person(s) who created or used the user ID, including

    records that help reveal the whereabouts of such person(s).

 e. The identity of the person(s) who communicated with the user ID about

    matters relating to relevant offense conduct of the above-listed crimes,

    including records that help reveal their whereabouts.




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